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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

 ARCH INSURANCE
 COMPANY,
        Plaintiff,                          CIVIL ACTION FILE:
  v.                                        NO. 4:24-cv-00047-WMR

 COOSA VALLEY FAIR
 ASSOCIATION, INC., SAMANTHA
 HUDGINS, individually and as a
 parent and natural guardian of A.E.,
 a minor; and CHRISTEN LANG,
 individually and as a parent and
 natural guardian of J.L., a minor,

       JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       COMES NOW Arch Insurance Company, with mutual agreement of all parties,

and files its JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE, with

each party to bear its own cost in this action.

       Respectfully, submitted this 21st day of June, 2024.

 Prepared and submitted by:                HALL BOOTH SMITH, P.C.
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